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                                                                                      U.S. DISTRICT COURT
                                                                                          N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ALABAMA
                             NORTHEASTERN DIVISION

CATLIN SPECIALTY                         )
INSURANCE CO.,                           )
                                         )
              Plaintiff                  )
                                         )
       vs.                               )       Case No. 5:17-cv-01432-HNJ
                                         )
JOSEPH J. JOHNSON, et al.,               )
                                         )
              Defendants                 )

                             MEMORANDUM OPINION

       This declaratory judgment action proceeds before the court on plaintiff’s Motion

for Summary Judgment and Amended Motion for Summary Judgment. (Docs. 19 &

22). For the reasons set out herein, the court GRANTS the summary judgment

motions.

                      SUMMARY JUDGMENT STANDARD

      Pursuant to the Federal Rules of Civil Procedure, “[t]he court shall grant

summary judgment if the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

Rule 56(a). The party seeking summary judgment bears the initial responsibility of

informing the district court of the basis for its motion, and identifying those portions of

the pleadings, depositions, answers to interrogatories, and admissions on file, together

with the affidavits, if any, which it believes demonstrates the absence of a genuine issue
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of material fact. Clark v. Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir. 1991) (quoting

Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)).

       If the movant sustains its burden, a non-moving party demonstrates a genuine

issue of material fact by producing evidence by which a reasonable fact-finder could

return a verdict in its favor. Greenberg v. BellSouth Telecomms., Inc., 498 F.3d 1258, 1263

(11th Cir. 2007) (citation omitted).        The non-movant sustains this burden by

demonstrating “that the record in fact contains supporting evidence, sufficient to

withstand a directed verdict motion.” Fitzpatrick v. City of Atlanta, 2 F.3d 1112, 1116

(11th Cir. 1993).    In the alternative, the non-movant may “come forward with

additional evidence sufficient to withstand a directed verdict motion at trial based on

the alleged evidentiary deficiency.” Id. at 1116-17; see also Doe v Drummond Co., 782 F.3d

576, 603-04 (11th Cir. 2015), cert. denied, 136 S. Ct. 1168 (2016).

       The “court must draw all reasonable inferences in favor of the nonmoving party,

and it may not make credibility determinations or weigh the evidence.” Reeves v.

Sanderson Plumbing Products, Inc., 530 U.S. 133, 150 (2000) (citations omitted).

“‘Credibility determinations, the weighing of the evidence, and the drawing of legitimate

inferences from the facts are jury functions, not those of a judge.’” Id. (quoting

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986)). “Thus, although the court

should review the record as a whole, it must disregard all evidence favorable to the

moving party that the jury is not required to believe.” Reeves, 530 U.S. at 151 (citation
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omitted). “That is, the court should give credence to the evidence favoring the

nonmovant as well as that ‘evidence supporting the moving party that is uncontradicted

and unimpeached, at least to the extent that that evidence comes from disinterested

witnesses.’” Id. (citation omitted).

       Rule 56 “mandates the entry of summary judgment, after adequate time for

discovery and upon motion, against a party who fails to make a showing sufficient to

establish the existence of an element essential to that party’s case, and on which that

party will bear the burden of proof at trial.” Celotex, 477 U.S. at 322. “In such a

situation, there can be ‘no genuine issue as to any material fact,’ since a complete failure

of proof concerning an essential element of the nonmoving party’s case necessarily

renders all other facts immaterial.” Id. at 322-23. In addition, a movant may prevail

on summary judgment by submitting evidence “negating [an] opponent’s claim,” that is,

by producing materials disproving an essential element of a non-movant’s claim or

defense. Id. at 323 (emphasis in original).

       Because the plaintiff bears the burden of proof on its claims, its status as the

summary-judgment movant requires it to establish there is no genuine dispute of

material fact as to all of the elements of its claim and, concomitantly, that it deserves

judgment as a matter of law on the claims. See Fitzpatrick v. City of Atlanta, 2 F.3d 1112,

1115 (11th Cir. 1993) (“The movant must show . . . on all the essential elements of its


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case on which it bears the burden of proof at trial, no reasonable jury could find for the

non-moving party.”).

                 FACTUAL AND PROCEDURAL BACKGROUND

       Plaintiff Catlin Specialty Insurance Company (Catlin) issued a commercial

general liability insurance policy to Joseph J. Johnson d/b/a JJ’s Fun & Recreational

Center (Johnson or JJ’s), effective May 25, 2014, through May 25, 2015. The named

insured on the policy is Joseph J. Johnson d/b/a JJ’s Fun & Recreational Center.

Johnson is a defendant in two actions pending in the Madison County Circuit Court:

Khloe Walker, by and through her mother and next friend, Tunishia Monique Armstrong v. Joseph J.

Johnson d/b/a JJ’s Fun & Recreation Center, et al., Civil Action No. CV-2016-902040, and

Larry Malone, as Administrator of the Estate of Larneal Donell McDonald v. Joseph J. Johnson

d/b/a JJ’s Fun & Recreation Center, et al., Civil Action No. 2017-900307.

       The Walker action alleges JJ’s served Terrance Walker alcoholic beverages on

March 1, 2015, despite his visible intoxication. After Walker left the establishment, he

was involved in a motor vehicle accident which caused his death. The Walker action

asserts an Alabama Alcoholic Beverages Control Board Rule No. 20-X-6-.021 claim; a




1
 This rule provides that no ABC Board on-premises licensee, employee, or agent thereof shall serve
any person alcoholic beverages if such person appears, considering the totality of the circumstances, to
be intoxicated.

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Dram Shop Act 2 claim; negligent or wanton hiring, supervision, 3 and/or training;

negligent performance of a voluntary undertaking; and negligent/wanton security.

          The McDonald action alleges that McDonald died in the same accident that

resulted in Walker’s death.            The McDonald action asserts claims under Alabama

Alcoholic Beverages Control Board Rule No. 20-X-6-.02 and the Dram Shop Act,

negligence, and wantonness.

          Catlin seeks a declaration it owes no duty to defend or indemnify Johnson in the

underlying state court actions based on the Total Liquor Liability exclusion in the

pertinent policy. Catlin indicates that Johnson does not oppose its summary judgment

motion, and only Walker and Armstrong filed an opposition to Catlin’s summary

judgment motion. Further, in answer to the complaint, Johnson admitted Catlin has



2
    The Dram Shop Act, Ala. Code § 6-5-71, provides:

          (a) Every wife, child, parent, or other person who shall be injured in person, property,
          or means of support by any intoxicated person or in consequence of the intoxication
          of any person shall have a right of action against any person who shall, by selling,
          giving, or otherwise disposing of to another, contrary to the provisions of law, any
          liquors or beverages, cause the intoxication of such person for all damages actually
          sustained, as well as exemplary damages.
          (b) Upon the death of any party, the action or right of action will survive to or against
          his executor or administrator.
          (c) The party injured, or his legal representative, may commence a joint or separate
          action against the person intoxicated or the person who furnished the liquor, and all
          such claims shall be by civil action in any court having jurisdiction thereof.
3
  This count alleges JJ’s “knew or should have known that [its] personnel . . . were not adequately
responding to known dangers to an intoxicated patron and/or were otherwise incompetently
performing their duties.” (Doc. 22-1 at ¶ 26).

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no duty to defend or indemnify because of the Total Liquor Liability Exclusion. (Doc.

1 at ¶ 16; Doc. 3 at ¶ 16).

       The policy at issue obligates Catlin to pay “those sums that the insured becomes

legally obligated to pay as damages because of ‘bodily injury’…to which this insurance

applies”; Catlin “will have the right and duty to defend the insured against any ‘suit’

seeking those damages”; and Catlin “will have no duty to defend the insured against any

‘suit’ seeking damages for ‘bodily injury’…to which this insurance does not apply.”

(Doc. 19-1 at § I.A.1.a.).

       Part “2. Exclusions,” under Coverage A in Section I, states that “[t]his insurance

does not apply to” the types of claims and damages described in the exclusions.” (Id. at

§ I.A.2). An endorsement to the Policy, titled “Total Liquor Liability Exclusion,”

replaces the exclusion in 2.c. with one stating that the insurance does not apply to:

       c. Liquor Liability

              “Bodily injury” or “property damage” for which any insured may
       be held liable by reason of:
              (1) Causing or contributing to, or responsibility for, the intoxication
       of any person;
              (2) The furnishing or sale of alcoholic beverages to a person under
       the legal drinking age and/or under the influence of alcohol; or
              (3) Any statute, ordinance, regulation or law relating to the sale, gift,
       distribution or use of alcoholic beverages.

(Doc. 19-1 at 35).




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                                      ANALYSIS

      Liability insurance policies impose two separate duties on the insurer: (1) the duty

to defend and (2) the duty to indemnify. Tanner v. State Farm Fire & Cas. Co., 874 So.2d

1058, 1063 (Ala. 2003) (citing Porterfield v. Audubon Indem. Co., 856 So.2d 789, 791-92

(Ala. 2002)). While ordinarily the two duties “must be analyzed separately,” Tanner,

874 So.2d at 1066 (quoting U.S. Fid. & Guar. Co. v. Armstrong, 479 So.2d 1164, 1167 (Ala.

1985)), the duty to indemnify does not exist in the absence of a duty to defend because

the duty to defend is broader. Tanner, 874 So.2d at 1063.

      “Whether an insurance company owes its insured a duty to provide a defense in

proceedings instituted against the insured is determined primarily by the allegations

contained in the complaint.” Hartford Cas. Ins. Co. v. Merchs. & Farmers Bank, 928 So.2d

1006, 1009 (Ala. 2005). “If the allegations of the injured party’s complaint show an

accident or an occurrence within the coverage of the policy, then the insurer is obligated

to defend, regardless of the ultimate liability of the insured.” Id.; see also Tanner, 874

So.2d at 1065. To determine whether a policy covers a claim, a court must initially

engage in a three-step inquiry: (1) the insured must show first that the claim is covered

under the policy’s initial grant of coverage; (2) the insurer may then show that a policy

exclusion bars coverage; and (3) the insured may thereafter establish that the excluded

claim falls under an exception to the exclusion. Ala. Gas Corp. v. Travelers Cas. & Sur.

Co., No. CV–10–J–1840–S, 2013 WL 3766531, at *4 (N.D. Ala. July 16, 2013) (citing
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Ala. Hosp. Ass’n Trust v. Mut. Assur. Soc. of Am., 538 So.2d 1209, 1216 (Ala. 1989), and

Colonial Life & Accident Ins. Co. v. Collins, 194 So.2d 532, 535 (Ala. 1967)); Town & Country

Prop., L.L.C. v. Amerisure Ins. Co., 111 So.3d 699, 703 (Ala. 2011).

       If the allegations in the complaint do not constitute a covered accident or

occurrence, the court may look to admissible evidence to establish a duty to defend.

Hartford, 928 So.2d at 1009-10; Tanner, 874 So.2d at 1064. Further, “[i]f there is any

uncertainty as to whether the complaint alleges facts that would invoke the duty to

defend, the insurer must investigate the facts surrounding the incident that gave rise to

the complaint in order to determine whether it has a duty to defend the insured.”

Hartford, 928 So.2d at 1010 (quoting Blackburn v. Fid. & Deposit Co. of Md., 667 So.2d 661,

668 (Ala. 1995)).

       The three-step inquiry changes to some extent in this declaratory judgment

action, inasmuch as the insured does not contend the policy provides coverage.

Rather, one of the injured parties, Walker, urges the court to find Catlin’s policy

provides coverage for the underlying state court claims. Therefore, if Catlin establishes

the existence of a policy exclusion, the injured party must establish the excluded claim

falls within an exception.

       In this case, Catlin contends the Total Liquor Liability exclusion precludes

coverage. Policy exclusions “must be interpreted as narrowly as possible in order to

provide maximum coverage for the insured, and must be construed most strongly
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against the company that drew the policy and issued it.’” Nationwide Mut. Ins. Co. v.

Thomas, 103 So.3d 795, 805 (Ala. 2012) (quoting Alliance Ins. Co. v. Reynolds, 494 So.2d

609, 612 (Ala. 1986)). However, where there is no ambiguity in the terms of an

insurance policy, the court must enforce the policy language “as written” and “cannot

defeat express provisions in a policy, including exclusions from coverage, by making a

new contract for the parties.” Id.

   I.      Catlin Proves the Policy Exclusion Applies

        As reviewed previously, Alabama law generally imposes the burden of proof on

policy coverage issues on the insured, while the burden of proving applicability of a

policy exclusion rests with the insurer. Compare Jordan v. National Acc. Ins. Underwriters

Inc., 922 F.2d 732, 735 (11th Cir. 1991) (“Under Alabama law the general rule is that the

insured bears the burden of proving coverage.”) with Acceptance Ins. Co. v. Brown, 832

So.2d 1, 12 (Ala. 2001) (“In general, the insurer bears the burden of proving the

applicability of any policy exclusion.”).

        In this case, Catlin referred the court to applicable provisions pertinent to

whether the policy provides coverage for the claims in the underlying actions. Upon

review, the Total Liquor Liability Exclusion bars coverage for all claims against JJ’s in

the Walker and McDonald actions. The exclusion applies not just to Dram Shop claims

but to all claims that “are inextricably intertwined with . . . alcohol claims,” Robinson v.

Hudson Spec. Ins. Co., 984 F. Supp. 2d 1199, 1207 (S.D. Ala. 2013), or that “have a direct
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nexus to the sale or service of alcohol or the causing or contributing to any person’s

intoxication.” Catlin Spec. Ins. Co. v. Philon, No. 12-00296-CB-M, 2013 WL 12123743, *2

(S.D. Ala. Feb. 20, 2013).

       Courts analyzing similar or identical liquor liability provisions have barred claims

that “directly involve alcohol.” See VP Props. & Devs., LLLP v. Seneca Specialty Ins. Co.,

645 F. App’x 912, 916-17 (11th Cir. 2016); Robinson v. Hudson Specialty Ins. Grp., 984 F.

Supp. 2d 1199, 1207 (S.D. Ala. 2013) (finding plaintiff’s negligence claims “inextricably

intertwined with his alcohol claims, which fall under what are clear and unambiguous

terms of the Colony liquor liability exclusion”); Philon, 2013 WL 12123743, at *2. The

state court claims against JJ’s essentially contend that the bar negligently served

Terrance Walker alcohol even when he was noticeably intoxicated, which directly

contributed to the accident that killed Walker and McDonald. Thus, the claims in the

underlying state court actions inextricably intertwine with the purportedly negligent sale

of alcohol and the intoxication that resulted, bringing them within the purview of the

liquor liability exclusion. See, e.g., Robinson, 984 F. Supp. 2d at 1207.

       The clear and unambiguous language of the policy at issue precludes coverage for

the claims asserted in the Walker and McDonald actions. Therefore, Catlin owes no

duty under the insurance policy to defend JJ’s in the underlying state court actions.

Further, Catlin possesses no obligation to indemnify JJ’s for any judgment which might

be entered against it in the underlying litigation because there exists no coverage under
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Catlin’s insurance contract for the claims alleged by any plaintiff in the underlying state

court actions.

   II.      Defendants Cannot Sustain an Estoppel Defense

         Defendants Walker and Armstrong claim Catlin is estopped from denying

coverage. More succinctly, Defendants Walker and Armstrong contend a genuine

issue of material fact exists regarding Catlin’s compliance with the defense contained in

Alabama Code § 27-14-19, which requires an insurer to mail or deliver a policy to the

purchaser and named insured within a reasonable time after its issuance. In Brown

Mach. Works & Supply Co. v. Insurance Co. of N. Am., 659 So. 2d 51 (Ala. 1995), the

Alabama Supreme Court held that “§ 27-14-19 requires that the insurance policy be

‘mailed or delivered’ to the purchaser of a policy and to the named insured,” and “an

insurer may be estopped from asserting conditions of, or exclusions from, coverage

where such a purchaser or insured is prejudiced by the insurer’s failure to comply with”

§ 24-14-19. 659 So. 2d at 61. Based on the interpretation of § 24-14-19, the

Defendants maintain that the court should estop Catlin from prevailing on summary

judgment at this stage because it has not demonstrated that it delivered the policy to JJ’s.

         Federal Rule of Civil Procedure 8(c)(1) lists estoppel as an affirmative defense.

Fed. R. Civ. P. 8(c)(1); see also E.E.O.C. v. Joe Ryan Enters., Inc., No. 3:11–cv–0795–MEF,

2013 WL 1294696, at *7 (M.D. Ala. March 28, 2013); In re Cottrell, 213 B.R. 33, 38 (M.D.

Ala. 1997); Kimbrell v. City of Bessemer, 380 So.2d 838, 839 (Ala. 1980). The party
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asserting an affirmative defense bears the burden of proof regarding the defense. Taul

ex rel. United States v. Nagel Enters., Inc., No.: 2:14-CV-0061-VEH, 2016 WL 304581, at *6

(N.D. Ala. Jan. 25, 2016); Lloyd Noland Found., Inc. v. HealthSouth Corp., 979 So.2d 784,

791 (Ala. 2007); BSI Rentals, Inc. v. Wendt, 893 So.2d 1184, 1187 (Ala. Civ. App. 2004).

       As a result, when a plaintiff moves for summary judgment and a defendant

asserts an affirmative defense thereto, the defendant bears the initial burden of

demonstrating that the affirmative defense applies. Wells Fargo Bank, N.A. v. Trotman,

940 F. Supp. 2d 1359, 1368 n. 8 (M.D. Ala. 2013); Office of Thrift Supervision v. Paul, 985 F.

Supp. 1465, 1470 (S.D. Fla. 1997) (citing Blue Cross and Blue Shield v. Weitz, 913 F.2d 1544,

1552 (11th Cir.1990)). Upon demonstrating the applicability of an affirmative defense,

the burden shifts to the plaintiff to refute the affirmative defense with appropriate

evidence. Paul, 985 F. Supp. at 1470 (citing Weitz, 913 F.2d at 1552 n. 13). Hence, a

court may grant a plaintiff’s summary judgment motion if the defendant fails to muster

evidence supporting an affirmative defense. Paul, 985 F. Supp. at 1470; Amoco Oil Co. v.

Gomez, 125 F. Supp. 2d 492, 499 (S.D. Fla. 2000).

       Therefore, Walker and Armstrong bear the burden of creating a genuine issue of

material fact as to the mailing or delivery of the policy at issue. However, Walker and

Armstrong submitted no evidence regarding the mailing or delivery of the policy or lack

thereof. See also USF Ins. Co. v. Metcalf Realty Co., Inc., No. 2:12–cv–02529–AKK, 2013

WL 4679833, at *5 n. 4 (N.D. Ala. Aug. 30, 2013) (court rejected argument of party
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urging estoppel under § 27–14–19(a) for failure to submit any evidence indicating

insurer failed to properly deliver its policy). Therefore, their unsupported argument

creates no genuine issue of material fact.

                                   CONCLUSION

      Based on the foregoing analysis, the court GRANTS Catlin’s summary judgment

motion. The court will enter a separate order in conformity with this Memorandum

Opinion.

      DONE and ORDERED this 3rd day of August, 2018.



                                                  ____________________________________
                                                  HERMAN N. JOHNSON, JR.
                                                  UNITED STATES MAGISTRATE JUDGE




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